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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA




UNITED STATES OF AMERICA,                          )
                                                   )
        vs.                                        )
                                                   )         1:04-cr-74-SEB-KPF-08
DEWAYNE LUSTER,                                    )
                                                   )
                             Defendant.            )



                                          ENTRY

       Defendant Luster, having recently filed a motion for relief pursuant to 18 U.S.C. §
3582, now seeks the recusal and disqualification of the undersigned through his separate
written motion filed on June 15, 2010.

      Luster supports his motion with his view that in ruling on the § 3582 motion, the
undersigned exhibited bias against him. This characterization is unfounded, and a
reasonable person would not question the impartiality of the undersigned, but in any event
the supporting allegations are insufficient:

        When a motion for recusal fails to set forth an extrajudicial source for the
        alleged bias and no such source is apparent, the motion should be denied.

Sprinpangler v. Sears, Roebuck & Co., 759 F. Supp. 1327, 1329 (S.D. Ind. 1991) (citing
Jaffree v. Wallace, 837 F.2d 1461, 1465 (11th Cir. 1988) ("It is simply not enough to voice
disagreement with previous rulings by [the judge] . . . [n]or is it enough to complain that [the
judge] did not expressly consider some of appellant's motions.")). A party’s negative
perception of the legal environment in which litigation occurs, citing judicial rulings in
support of his views, is not an objectively reasonable basis on which to conclude that a
judicial officer's impartiality might reasonably be questioned. Such rulings "are proper
grounds for appeal, not for recusal." Liteky v. United States, 510 U.S. 540, 555, 114 S. Ct.
1147, 1157 (1994); accord, e.g., In re Maurice, 73 F.3d 124, 126 (7th Cir. 1995) (motion
under 28 U.S.C. § 455 denied where it did not point to any extra-judicial source of prejudice
or any reason to believe members of court did anything other than react to what they
learned in preparing to decide case).

       The defendant’s motion for recusal and disqualification of the undersigned (dkt 14)
is therefore denied.

        IT IS SO ORDERED.



                                                       _______________________________
Date:    06/18/2010
                                                       SARAH EVANS BARKER, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana
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Distribution:

Melanie C. Conour
United States Attorney’s Office
melanie.conour@usdoj.gov

Dewayne Luster 07553-028
FCI McKean
Federal Correctional Institution
P. O. Box 8000
Bradford, PA 16701
